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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION

NOEL ARNOLD,                                  )
                                              )
              Petitioner,                     )
                                              )
       v.                                     )         CV 315-034
                                              )         (Formerly CR 310-012)
UNITED STATES OF AMERICA,                     )
                                              )
              Respondent.                     )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       Petitioner, an inmate at the Federal Correctional Institution in Miami, Florida, has

filed with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his

sentence. The matter is now before the Court for an initial review of Petitioner’s motion as

required by Rule 4 of the Rules Governing Section 2255 Proceedings for the United States

District Courts.     For the reasons set forth below, the Court REPORTS and

RECOMMENDS that Petitioner’s § 2255 motion be DISMISSED on the basis that it is

successive and the Eleventh Circuit Court of Appeals has not authorized consideration of any

such claim, and that this civil action be CLOSED.

I.     BACKGROUND

       On October 14, 2010, the grand jury in the Southern District of Georgia indicted

Petitioner and two co-defendants on one count of armed bank robbery, in violation of 18

U.S.C. §§ 2113(a) and (d), and one count of using, carrying, and brandishing a firearm

during a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A)(ii). United States v.
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Arnold, CR 310-012, doc. no. 1 (S.D. Ga. Oct. 14, 2010) (“CR 310-012”). Represented by

retained counsel, on February 7, 2011, Petitioner pled guilty to the armed bank robbery count

before United States District Judge Dudley H. Bowen, Jr. Id., doc. no. 43-45. As part of the

plea agreement, the government dismissed the firearm count.           Id., doc. no. 44, pp. 2.

Petitioner’s plea agreement included a broad appeal and collateral attack waiver provision

that stated in relevant part:

       To the maximum extent permitted by federal law, the defendant voluntarily
       and expressly waives the right to appeal the conviction and sentence and the
       right to collaterally attack the conviction and sentence in any post-conviction
       proceeding, including a § 2255 proceeding, on any ground, except that: the
       defendant may file a direct appeal of his sentence if it exceeds the statutory
       maximum; and the defendant may file a direct appeal of his sentence if, by
       variance or upward departure, the sentence is higher than the advisory
       sentencing guideline range as found by the sentencing court.

Id. at 2-3.   Judge Bowen explained at the plea hearing that the maximum penalty for

Petitioner’s crime was a prison term of not more than twenty-five years, a fine of not more

than $250,000.00, a term of supervised release of not more than five years, and a $100.00

special assessment. Id., doc. no. 63, p. 8.

       On July 20, 2011, Judge Bowen sentenced Petitioner to 240 months of imprisonment,

which was “[n]ot quite to the upper end of the guideline range,” and to five years of

supervised release. Id., doc. no. 64, p. 76; doc. no. 53, pp. 2-3. Petitioner was also made

jointly and severally liable with his two co-defendants for $21,650.00 in restitution. Id., doc.

no. 64, p. 79; doc. no. 53, p. 5. On August 4, 2011, despite the terms of his plea agreement,

Petitioner filed a notice of appeal. Id., doc. no. 57. On March 1, 2012, the Eleventh Circuit

Court of Appeals granted the Government’s motion to dismiss the appeal based on the appeal

waiver. Id., doc. no. 66.
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          The Clerk of Court then filed Petitioner’s first § 2255 motion in this Court on July 16,

2012. See Arnold v. United States, CV 312-063, doc. no. 1 (S.D. Ga. July 26, 2012) (“CV

312-063”). Petitioner raised a single ground for relief: that his trial counsel provided

ineffective assistance of counsel by “failing to specifically request any surveillance video of

the bank robbery once it was notice[d] that it was not [included] in the discovery packet.” Id.

at 4. Respondent moved to dismiss based on the assertion that the claim was barred by the

collateral attack waiver set forth in the plea agreement. Id., doc. no. 4, p. 4. On March 25,

2013, Judge Bowen determined that Petitioner was not entitled to relief under § 2255

because the collateral attack waiver was valid. Id., doc. nos. 6, 9. The Eleventh Circuit

denied Petitioner a certificate of appealability initially and on reconsideration. Id., doc. nos.

14, 15.

          On November 24, 2014, Petitioner moved for relief from the judgment denying his

first § 2255 motion pursuant to Federal Rules of Civil Procedure 60(b). Id., doc. no. 16.

Petitioner asserted that the District Court erred in dismissing his first § 2255 as barred by his

collateral attack waiver because of an October 14, 2014 policy change by the Department of

Justice (“DOJ”) concerning enforcement of appeal and collateral attack waivers. CR 310-

012, doc. no. 116. The DOJ memorandum regarding this policy change states:

          For cases in which a defendant’s ineffective assistance claim would be barred
          by a previously executed waiver, prosecutors should decline to enforce the
          waiver when defense counsel rendered ineffective assistance resulting in
          prejudice or when the defendant’s ineffective assistance claim raises a serious
          debatable issue that a court should resolve.

See Memorandum from James M. Cole, Deputy Attorney General, to All Federal Prosecutors

(Oct. 14, 2014), available at http://www.justice.gov/sites/default/files/press-releases/

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attachments/2014/10/15/dept-policy-on-waivers-of-claims-of-ineffective-assistance-of-

counsel.pdf.

       Judge Bowen denied this motion on January 7, 2015, stating that Petition had “failed

to show the invalidity of the collateral attack waiver.” Id., doc. no. 20. Additionally, Judge

Bowen found that Petitioner’s claims, “no matter how they are couched, are barred from

review” and that Rule 60(b) was never intended to permit parties to relitigate the merits of

claims, or to raise new claims that could have been asserted during the litigation of the case.

Id.

       Petitioner has now ostensibly filed another § 2255 motion to vacate, set aside, or

correct his sentence, which he signed on March 31, 2015, and the Clerk of Court docketed on

April 6, 2015. (Doc. no. 1.) Although Petitioner asserts two grounds for relief, the first

ground is merely a legal argument that the DOJ policy change entitles him to reassert his

second ground, which is the same ineffective assistance of counsel claim raised in his first §

2255 regarding defense counsel’s purported failure to request surveillance video of the

robbery. (Id. at 6, 20-22.) Petitioner repeats the argument from his Rule 60(b) motion that

the District Court erred in dismissing his first § 2255 as barred by his collateral attack waiver

because of the DOJ policy change. (Id. at 14-26.) Petitioner also argues that he is not

required to seek authorization from the Eleventh Circuit Court of Appeals to file a second or

successive § 2255 motion as required by 28 U.S.C. §§ 2255 and 2244(b) because the DOJ

policy change occurred after he filed his first § 2255 motion and thus his ineffective

assistance of counsel claim was not previously available to him. (Id.)




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II.    DISCUSSION

       The successive motion restrictions enacted by AEDPA, codified at 28 U.S.C. §§ 2255

and 2244(b), provides in relevant part:

       A second or successive motion must be certified as provided in section 2244
       by a panel of the appropriate court of appeals to contain–

       (1) newly discovered evidence that, if proven and viewed in light of the
       evidence as a whole, would be sufficient to establish by clear and convincing
       evidence that no reasonable factfinder would have found the movant guilty of
       the offense; or

       (2) a new rule of constitutional law, made retroactive to cases on collateral
       review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h)(2). Section 2244, in turn, provides that prior to filing a successive

petition in the district court, “the applicant shall move in the appropriate court of appeals for

an order authorizing the district court to consider the application.”             28 U.S.C. §

2244(b)(3)(A); see also In re Joshua, 224 F.3d 1281, 1281 (11th Cir. 2000) (citing 28 U.S.C.

§§ 2255 & 2244(b)(3)).

       In Stewart v. United States, 646 F.3d 856, 865 (11th Cir. 2011), the court

distinguished between numerically second § 2255 motions and those that were barred as

second or successive, holding that the petitioner’s numerically second motion was not second

or successive because the claim asserted therein, improper sentencing as a career offender,

was not yet ripe at the time of his first motion because the predicate state convictions had not

yet been vacated. In doing so, the Stewart court cited to Leal Garcia v. Quarterman, 573

F.3d 214, 222 (5th Cir. 2009), noting that, like in that case, petitioner’s motion fell within a

“small subset of unavailable claims that must not be categorized as successive.” Stewart,

646 F.3d at 863. The Stewart court further noted that the Fifth Circuit’s approach in Leal
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Garcia “is consonant with the Supreme Court’s reasoning in” Panetti v. Quarterman, 551

U.S. 930 (2007). Id. at 862.

       Leal Garcia explained that “[n]ewly available claims based on new rules of

constitutional law (made retroactive by the Supreme Court) are successive under

§ 2244(b)(2)(A): Indeed, this is the reason why authorization is needed to obtain review of a

successive petition.” Leal Garcia, 573 F.3d at 221 (emphasis in original). AEDPA was

specifically designed to protect against prisoners “repeatedly [attacking] the validity of their

convictions and sentences” as “the legal landscape shifts.” Id. at 221-22. Likewise, “claims

based on a factual predicate not previously discoverable are successive,” but if the alleged

defect did not exist or did not ripen until after adjudication on the merits of the previous

petition, e.g., an order vacating a federal prisoner’s predicate state convictions used to

enhance the federal sentence, a claim may be part of a small subset of claims not considered

second or successive. Stewart, 646 F.3d at 863 (citing Leal Garcia, 573 F.3d at 221, 222).

       Here, the Court dismissed Petitioner’s first § 2255 motion because it was barred by

the collateral attack waiver. See CV 312-063, doc. nos. 6, 9. Petitioner argues that the DOJ

policy change constitutes a new “fact” that did not arise or ripen until after the District Court

dismissed his previous petition, and therefore his ineffective assistance claim should be

decided on its merits.    This is incorrect because Judge Bowen already considered and

rejected this very same argument by Petitioner regarding the DOJ policy change in the

context of Petitioner’s first § 2255 proceeding, when denying Petitioner’s Rule 60(b) motion.

CR 310-012, doc. no. 117. Thus Petitioner’s second attempt to make this argument in the

present § 2255 is improper. See Williams v. Chatman, 510 F.3d 1290, 1295 (11th Cir. 2007)

(“Because he was attempting to relitigate previous claims that challenge the validity of his
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conviction, [petitioner] was required to move this Court for an order authorizing the district

court to consider a successive habeas petition.”)

       Nor is there any merit to Petitioner’s argument that his motion is not second or

successive under Stewart. A claim based on a mere change in DOJ policy does not constitute

a new “fact” as contemplated by Stewart and Leal Garcia. The courts in Stewart and Leal

Garcia, found, respectively, that an exceeding narrow subset of numerically second claims

fall outside the capacious scope of claims considered to be second or successive. Examples

are limited to extraordinary factual developments such as (1) an order vacating a federal

prisoner’s predicate state convictions used to enhance the federal sentence and (2) a state’s

refusal to comply with the President’s declaration ordering states to observe an International

Court of Justice decision.      Conversely, a policy that merely affords the government

discretion whether to enforce a collateral attack waiver does not entitle a petitioner to assert a

new claim. This is particularly true where, as here, the government has steadfastly sought

enforcement of the collateral attack waiver without exercising its discretion under the DOJ

policy change to decline enforcement. In short, the DOJ has not applied the policy change to

Petitioner and therefore there has been no new development in this case. Furthermore, Judge

Bowen has already upheld Petitioner’s collateral attack waiver when faced with Petitioner’s

change of policy argument and the government’s response. See CR 310-012, doc. no. 117.

       Thus, the present § 2255 is properly classified as “second or successive.” Absent

authorization from the Eleventh Circuit, this Court lacks jurisdiction to consider Petitioner’s

current motion. See Hill v. Hopper, 112 F.3d 1088, 1089 (11th Cir. 1997) (determining that

“the district court lacked jurisdiction to consider Appellant Hill’s request for relief because

Hill had not applied to this Court for permission to file a second habeas petition”).
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III.    CONCLUSION

        Based on an initial review of the motion as required by Rule 4 of the Rules Governing

Section 2255 Proceedings, the Court REPORTS and RECOMMENDS that Petitioner’s §

2255 be DISMISSED on the basis that it is successive and the Eleventh Circuit Court of

Appeals has not authorized consideration of any such claim, and that this civil action be

CLOSED.

        SO REPORTED and RECOMMENDED this 19th day of May, 2015, at Augusta,

Georgia.




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